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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                             DECISION AND ORDER
                     v.                                             14-CR-79


ELIAS FIGUEROA,


                                   Defendant.


       This case was referred to Magistrate Judge H. Kenneth Schroeder, Jr., pursuant

to 28 U.S.C. § 636(b)(1)(B) for pretrial proceedings. On August 22, 2014, defendant

Elias Figueroa filed a motion to suppress evidence (Dkt. No. 23). Oral argument was

held on October 8, 2014, and the defendant submitted a post hearing affidavit (Dkt. No.

39) on October 30, 2014. Magistrate Judge Schroeder filed a Report and

Recommendation (Dkt. No. 50) on April 7, 2015 recommending that defendant Elias

Figueroa’s motion to suppress evidence (Dkt. No. 23) should be denied. No objections

were filed within the deadline set forth in the Report and Recommendation.

       The Court has carefully reviewed the Report and Recommendation, the records

in this case, and the pleadings and materials submitted by the parties, and no

objections having been timely filed, it is hereby

       ORDERED, that pursuant to 28 U.S.C. 636(b)(1), and for the reasons set forth in

Magistrate Judge Schroeder’s Report and Recommendation, defendant’s motion to

suppress evidence is denied.
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     IT IS SO ORDERED.

                                   ____Richard J. Arcara____________
                                   HONORABLE RICHARD J. ARCARA
                                   UNITED STATES DISTRICT COURT

Dated: May 1, 2015




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